      11-15686-cgm         Doc 35      Filed 07/26/17 Entered 07/26/17 09:32:35                 Order of Final
                                               Decree Pg 1 of 1
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK
                                                One Bowling Green
                                             New York, NY 10004−1408


IN RE: Maria Dorothy Strohbehn                              CASE NO.: 11−15686−cgm

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 13
xxx−xx−3515




                                        ORDER OF FINAL DECREE



The estate of the above named debtor has been fully administered.

IT IS ORDERED THAT:

Jeffrey L. Sapir−13 is discharged as trustee of the estate and the chapter 13 case of the above named debtor(s) is
closed.


Dated: July 26, 2017

                                                   Cecelia G. Morris , Bankruptcy Judge
